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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI

 IN RE:                                     )
                                            )
       Nancy Lynn Abbott,                   )        CASE NO. 17-40951
                                            )
                           Debtor(s).       )


    MOTION TO APPROVE PERMANENT HOME MORTGAGE MODIFICATION
                       AND SHORTEN NOTICE


         COMES NOW debtor, by and through her attorney, David L. Dean, and for her Motion
 state(s) as follows:

       1. Debtor(s) filed his/her/their Chapter 13 petition/converted their case to Chapter 13 on
          April 7, 2017.

       2. Debtor(s) has/have a mortgage with Ditech Financial LLC.

       3. Debtor(s) and Ditech Financial LLC have entered into a permanent mortgage
          modification.

       4. Per the terms of the permanent mortgage modification, the modification begins with
          the July 1, 2017, payment. The new mortgage payment is $652.66 each month,
          including escrow, with an interest rate of 7.125%.

       5. The principal balance on the loan is $69,265.81.

       6. The loan maturity date is June 1, 2057.

       7. Debtor(s) request(s) this court approve the permanent mortgage modification and
          authorize the changes set forth below:

       8. The claim in favor of Ditech Financial LLC shall be paid in the following manner
          (check one):

           ☒ Debtor(s) further request(s) permission to make their on-going mortgage
             payments to Ditech Financial LLC directly beginning with the first modification
             payment in July 1, 2017.
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            ☐ Debtor(s) further request(s) the mortgage payment to be paid through the plan be
              changed to $___________ due to the permanent loan modification. This mortgage
              payment is effective with the _________, 201_, mortgage payment. The trustee will
              set up the first monthly modified on-going mortgage payment as a Post-Petition
              Loan Modification Amount (PLMA) be paid pro-rata over the life of the case with
              a 5% increase, on that payment only, to account for any late fees.

        9. Debtor(s) further request(s) this court order the trustee to stop all disbursement on the
           on-going mortgage claim if the debtor now is paying it directly. Further, the trustee
           shall stop all disbursement on any pre-petition mortgage arrearage claim, any post-
           petition mortgage arrearages, and the initial post-petition amount (IPA) claim.

        10. (If applicable) Debtor(s) further request(s) the plan payment be changed to
            $___________. This new plan payment is effective as of ___________, 201_.

        11. The trustee will reset the mortgage claim records upon entry of an order granting this
            motion based on the changes set forth above.

        12. Debtor(s) request(s) this Honorable Court schedule the matter on the next available
            docket, or in the alternative, grant Debtor(‘s’) request without a hearing after the
            expiration of the notice period.

         WHEREFORE, debtor(s) request(s) this Honorable Court enter an Order approving
 the permanent mortgage modification with Ditech Financial LLC and allowing debtor(s) to pay
 the mortgage directly beginning with the July 1, 2017, payment or through the plan at the new
 payment amount of $___________ as specified in Paragraph 8 above. If the mortgage is paid
 through the plan, the trustee is ordered to set up the first monthly modified on-going mortgage
 payment as a Post-Petition Loan Modification Amount (PLMA). Further, debtor(s) request(s)
 an Order directing the trustee to stop all disbursements on any pre-petition mortgage arrearage
 claim, any post-petition mortgage arrearages, the initial post-petition amount (IPA) claim, and
 the on-going mortgage claim if the debtor now is paying it directly. If applicable, the plan
 payment shall be changed to $_________ effective ___________, 201_. Debtor(s) request the
 trustee to reset the mortgage claim records based on the changes set forth above.



 _6/28/2017____________                                      /s/David L. Dean_______

 Date                                                        Attorney for Debtor(s)

                                     NOTICE OF MOTION
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 Any party with an objection is directed to file a Response to the motion within seven (7) days of
 the date of this notice with the Clerk of the United States Bankruptcy Court. Documents can be
 filed electronically at http://ecf.mowb.uscourts.gov. Information about electronic filing can be
 found on the Court website at www.mow.uscourts.gov. Parties not represented by an attorney
 may mail a response to the Court at the address below. If a response is timely filed, a Notice of
 Hearing will be provided to all interested parties by the Court. If no response is filed within
 seven (7) days, the Court will enter an order granting the motion.



                                  CERTIFICATE OF SERVICE

 I, David L. Dean, hereby certify that a true and correct copy of the Motion was served, in
 addition to the parties notified by the US Bankruptcy Court’s electronic notification, upon the
 affected creditors and other parties in interest via US First Class Mail, postage prepaid, this 28th
 day of June, 2017.

 Ditech Financial LLC
 PO Box 6154
 Rapid City, SD 57709-6154

 Southlaw, P.C.
 (electronic notification)
                                               David L. Dean________________

                                               Typed Name or Signature


 Court Address: United States Bankruptcy Court, 400 E.9th St., Room 1510, Kansas City,
 MO 64106




 Instructions: Complete all required information and serve on all affected creditors.
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 ECF Event: Bankruptcy>Motions/Applications/Requests>Home Mortgage
 Modification>Permanent
